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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TEXAS
                               AUSTIN DIVISION

                                      WRIT OF EXECUTION

Cause No.: 1:18-cv-00491-LY

SHARON D. ROSE
Plaintiff

vs.

SELECT PORTFOLIO SERVICING INC. AND US BANCORP
Defendants

                                      THE STATE OF TEXAS

To any Sheriff, Constable or any US Marshal within the State of Texas, Greetings:

        WHEREAS, before our Honorable United States District Court for the Western District of

Texas, Austin Division, in Cause No. 1:1 8-cv-0049 1 -LY styled Sharon D. Rose vs. Select Portfolio

Servicing Inc. and US Bancorp, on June 11, 2019, U.S. Bank, NA., successor trustee to LaSalle

Bank National Association, on behalf of the holders of Bear Stearns Asset Backed Securities I

Trust 2007-HE3, Asset-Backed Certificates Series 2007-HE3 (improperly named as US Bankcorp)

obtained Final Judgment and Order of Foreclosure against Sharon D. Rose allowing judicial

foreclosure of the property described as:

LOT 34, BLOCK D, THE ENCLAVE OF TOWNE CENTRE PHASE I, A SUBDIVISION IN
WILLIAMSON COUNTY, TEXAS, ACCORDING TO THE MAP OR PLAT THEREOF
RECORDED IN CABINET Z, SLIDES 30, PLAT RECORDS OF WILLIAMSON COUNTY,
TEXAS,

        commonly known as 2045 Rachel Lane, Round Rock, TX 78664

        NOW, THEREFORE, YOU ARE HEREBY COMMANDED, to proceed according to

law and seize and sell the above described property as under execution and apply the proceeds

thereof to the payment and satisfaction of the aforesaid Final Judgment and Order of Foreclosure

in favor of U.S. Bank, et al. Costs are assessed against the party incurring same.

TO SERVING OFFICER:

        HEREIN FAIL NOT. Return this writ with your return thereof, on or before 180 days from

the date of issuance of this this Writ, to the Clerk of the United States District Court for the Western

District of Texas, Austin Division.

        FIRST retain your costs and fees for holding said sale.
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        SECOND, remit the court costs to the Clerk of the United States District Court for the

Western District of Texas, Austin Division.

        THIRD, remit the payment of the remaining monies received to the proper parties as shown

in the Judgment. All in accordance with the statutes of the State of Texas.

        GIVEN UNDER MY HAND and seal of said Court at my office

Texas, this           day of October, 2019.


Issued at the request of
Dominique Varner
Hughes, Watters & Askanase, L.L.P.
1201 Louisiana, 28th Floor
Houston, Texas 77002


                                                                                   5          Clerk
                                                                       United States District Court for the
                                                                       Western District of Texas, Austin
                                                                       Division ,-.


                                                                       Deputy Clerk


                                       US MARSHAL'S RETURN

        Came to hand the         day of                           2019, at       o'clock_rn, and not executed

the          day of                        2019, in person a true copy of this writ at

sheriff, served at

I traveled                 miles in the execution of this writ.


Total Fees: $___________           Serving Writ $_______________ Mileage                         total

$________________________

Failure to serve writ



                                           US Marshal of the Western District of Texas, Austin Division


                                            By:                                           (Deputy)
